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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA


                   V.                                     Docket No.: 24-cr-10259-DJC


MATTHEW FARWELL




        I, Kimberly C. Stevens, hereby state the following under the pains and penalties
of perjury:

        1. I am Senior Capital Resource Counsel, hosted by the Office of the Federal
              Public Defender of the Middle District of Tennessee.

        .2 I am a member of the bar in good standing ni every jurisdiction ni which I am

              admitted to practice law. I hold an active license to practice law in the State

              of North Carolina and am a member in good standing ni that jurisdiction.
        3.    I have never been the subject of any disciplinary proceedings in any

              jurisdiction ni which I am admitted to practice law, and there are none

              pending against me.
       4. I have reviewed and am familiar with the Local Rules of the United States

              District Court for the District of Massachusetts, and I agree to comply with

              those rules.


                                                         Kimberly C.Astevens


                                                        J U N E 24, 2025
                                                        Dated
